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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS


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      ErrC        \lrl I   lra.^J                        )
                      '                                  )


                Plaintiff(s),                          16cv3625
                                                       .tuOg" Milton l' Shadur
                                                                                 l' Schenkier
                          vs.                          ii"rii=*t" Judge Sidney
                                                       PC1   1

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       N\, fci,r,^-\,       t A 6corlro)                 )
                                                         )                          REGEIVED
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                Defendant(s).
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                                       s,f6r ++          )
                                                         )
                                                         )
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                                                                                     THOMASG. BR:.ITON
-                                                                                CLERK, U.S. DISTRICT COURT


            COMPLAINT FOR VIOLATION OT'CONSTITUTIONAL                            RIGHTS            :




Thkf,orm complaint is designed to help you, as a pro se plainfilf, state your cose in a clear
fitdnner. Please read the directions and the numbered paragraphs carefully. Somc paragraphs
may not apply to yon You may cross out paragraphs that do not apply to you All references
to {plaintiff' and "defendant" are stated in the singular but will apply to more than one
plaintiff or defendant d that is the nature of the case.

i.      This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

        laws of the United States under 42U.5.C. $$ 1983, 1985, and 1986.

2.      The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367.

        plaintifrs full   name   is 6lC \         fS   har.,n \U, I I rarur

Ifthere are additional plaintffi,Jill in the above information as to theJirst-namcd      plainfiff
and complete the inf,orrnationfor each additional plaintiff on an ertra sheet.
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       Defendant,                    t   \   eh tr.r         RA(o. oFsso) #atqs
                                                        (name, badge mrmber if known)


       {anomeerorofficialemployeduy                                thrtqg0 Po\'ce                      D( Fqr l,r,,r or}         .

                                                                          (deparhnent or agency of govemment)



       n   an individual not employed by a governmental entity.

If there ure additional defendants,Jill in the above information
                                                             as to thelirst-named
defendant and complete the informationfor each additional defendant on an extra sheet,

5.     The municipality, township or county under whose authority defendant officer or offrcial

       u.t.d   i,     &ll t o,v'r\ / RA                  (                                       .   As to praintifps federar

       constitutional claims, the municipality, township or county is a defendant only                               if
       custom or policy allegations are made atparugraph 7 below.

5.     on or    uaou, 3 I i4 I               2oA,            atapproxim         utav 17 i()                      M.m.flp.m.
                            (frronthfday, year)
       plaintiff was present in the municipality (or unincorporated area) of                               6qq         Lt.
           (q   KrrSlru ,   t br                  CIt r( q orr           , in the   counry of

       State of   Illinois, at                    6   4q N                LqYt ('irc'r (             D.
                                             (identifz location   as   precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in each box that

                                 -
                arrested or seized           plaintiff without probable
                                                          cause to believe that                                plaintiff had
                committed, was committing or was about to commit a                              crime;                       l

       E(---searched plaintiff or his property without a warrant and without                              reasonable cause;
      .W used excessive force upon plaintift
      P'faited to intervene to protect plaintiff from violation of plaintiff
                one or more other defendants;
                                                                                                           s   civil rights by

      n )ailed to provide plaintiff with needed medical care;
      Y conspired together to violate one or more of plaintiff s civil rights;
      n otn'3Q\z{d \qz4oo
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                    Lbtt le rttoltr                                       tl
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7.       Defendant officer or offrcial acted pursuant to a custom or policy of defendant

         municipality, county or township, which custom or policy is the following: (Leave blank

         if no custom   or policy is alleged):




8.      Flaintiffwas charged with one or more crimes, specifically:

             lZo     tLCS 55oo/s,z^
             C on^A br\ - NF b DEt - Sch1tl .                                 Soo     -zo0o           far4s'

             Ciqssl'-Iv,re F                                                                           ,




9.      (Place an X in the box that applies. If none applies, you may describe the criminal
        proceedings under "Other') The criminal proceedings

        tr   are still pending.

        d    were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        I    Plaintiff was found guilty of one or more charges because defendant deprived me of             a

        fair trial as follows



        tr Other:

        lExamples
                    of termination in favor of the plaintiff in a manner indicating plaintiffwas innocent
niay include a judgment   of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or anolle prosequi order.
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      10.     Plaintif'f further alleges as follows: (Describe what happened that you believe
       supports your claims. To the extent possible, be specitic as to your own actions and
      the actions of each defendant.')

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          :          had         |v\            irJ l               N ,lC,laP .5. s'ornf
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        (c.r1y-1- Alsc, f, l,ts, q5zqao clutloadr cny 'f€tzc
i1.   Detendant acted knowingly, intentionally, willfully and maliciously.

t2.   As a result of defendant's conduct, plaintiff was injured as follows:

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         b ac   t(     Dc\\ il




13.   Plaintiff asks that the case be tried by a jury.                            !No
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 14.
                                                                                                          .



        Plaintiff also claims violation of rights that may be protected by the laws of lllinois, such
                                                                                                          I



        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracf,
                                                                                                          :


        and./or any other claim that may be supported by the allegations of this        complaint.   ,i




        WHEREFORE, plaintiff asks for the following relief:

        A.      Damages to compensate for all bodily harm, emotional harm, pain and suffering,
                                                                                                          ,


                loss of income, loss of enjoyment of life, property damage and any other injuries

                inflicted by   defendant;                                                                 '




        B.
                                                                                                     -


                    8 (Place X in box dyou are seeking punitive damages.) Punitive damages
                against the individual defendant;     and                                            .i

                                                                                                      I




        C.      Such injunctive, declaratory, or other relief as may be appropriate, including
                                                                                                     I

                                                                                                      :




 attorney's fees and reasonable expenses as authorized by 42 U.S.C. $        1983.                   i



        Plaintiff s signature:

        Plaintiff s name (print ctearty o, Aprl, E      ft C ll) t ll t A mJ
        plaintiffsmailing u6ar"rr,         5170     S    Thr-oo P /\-{). Z
                                                                                                     i


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        crry Ch'cag o                                     State   I   L           ZIP

        Plaintiffs telephone number:       GIZ> 7 7 -7 - S q 3 +
        Plaintiff   s emaii address   (if you prefer to be contacted by email):



15.    Plaintiff has previously frled a case in this district. tr Yes     ffio
       If yes, please list the cases below.

Any additional plaintffi must sign the complaint and provide          the same information as theftrst
plaintffi An additional signature page may be added
